      Case 1:08-cr-00026-DLH        Document 106       Filed 03/04/09     Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                 )                             Case No. 1:08-cr-026
                                          )
                     Plaintiff,           )                    AMENDED PROTECTIVE
                                          )                 ORDER ALLOWING LIMITED
       vs.                                )              DISCLOSURE OF RETURN AND
                                          )                RETURN INFORMATION AND
Michael L. Fisher, Amiel                  )                   GRAND JURY MATERIAL
Schaff, Clyde Frank, and                  )
Fisher Sand and Gravel Co., Inc.,         )
                                          )
                     Defendant.           )

       IT IS SO ORDERED that this Court’s Protective Order Allowing Limited Disclosure

of Return and Return Information and Grand Jury Material (Rec. Doc. No. 59) is hereby

amended to permit Thomas Fisher to make one copy of the discovery in his possession,

including the Protected Discovery, and provide that copy to Thomas Fisher’s Individual

Counsel. The term “Individual Counsel” as used in this amendment, means, Jonathan D.

King, DLA Piper, Chicago, Illinois, and any partners, associated, paralegals and office staff

of DLA Piper directly involved in the representation of Thomas Fisher in connection with

this criminal case. (The “Representation”). The term “Individual Counsel” as used in this

amendment, also means Attorney William J. Quinlan, Chicago, Illinois.

       IT IS FURTHER ORDERED that Individual Counsel shall maintain the Protected

Discovery in their sole custody.

       IT IS FURTHER ORDERED that Individual Counsel is prohibited from copying,

distributing and/or disseminating the Protected Discovery to any person who is not directly
      Case 1:08-cr-00026-DLH        Document 106       Filed 03/04/09    Page 2 of 2




involved in the Representation and for any purpose other than assisting in the

Representation.

       IT IS FURTHER ORDERED that Jonathan D. King and William J. Quinlan shall,

within two days of the entry of this Order, file with the Court a signed acknowledgment of

this Order representing that Individual Counsel agrees to be bound by the terms of this

amended Order and that Individual Counsel submits to the jurisdiction of this Court with

respect to any violation and enforcement of this amended Order.

       IT IS FURTHER ORDERED that with respect to any discovery provided to

Individual Counsel, said discovery shall be returned to the United States upon demand for

destruction after the completion of the proceedings in this case. Upon demand for the

return of discovery, Individual Counsel shall not retain any copies, electronic or otherwise,

of any discovery.

       IT IS SO ORDERED.

       Dated: March 4, 2009.



                                          Charles S. Miller, Jr.
                                          Charles S. Miller, Jr.
                                          United States Magistrate Judge
